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UNITED STATES OF AMERICA vy. TEIMOTHY J. SMITH
Case No. 3:19cr32/MCR

HONORABLE M. CASEY RODGERS
Trial Date December 2, 2019

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NO. | NAME/POSITION | ADDRESS STATUS
O1 Task Force Officer Stephanie Cassidy | Pensacola, Florida VR-B-NF
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FBI
02 Special Agent Brandon Cook Pensacola, Florida
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CERTIFICATE OF SERVICE
[hereby certify that a copy of the foregoing has been delivered via the Court’s
electronic filing system to defense counsel of record on this the 29" day of
November, 2019.
/A/ David L, Goldbong

David L. Goldberg
Assistant United States Attorney
 

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